Case 3:20-cv-00822-LEK-ML Document 144 Filed 03/11/22 Page1of3

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

YOUNG AMERICA’S FOUNDATION;

BINGHAMTON UNIVERSITY .
COLLEGE REPUBLICANS; and JON ANSWER
LIZAK, President of the College

Republicans of Binghamton University,

Plaintiff(s),

-against-

HARVEY STENGER, President of
SUNY-Binghamton, in his official and Civil Action No. No. 3:20-ev-822
individual capacities; BRIAN ROSE, Vice
President for Student Affairs of SUNY Binghamton,
in his official and individual capacities; JOHN —~
PELLETIER, Chief of SUNY Binghamton UPD, U.S, DISTRICT COURT -N.D. OF NY.
in his official and individual capacities; COLLEGE F | Le D
PROGRESSIVES, a student organization

 

 
 

 

 

 

 

at SUNY-Binghamton; PROGRESSIVE 1 2022

LEADERS OF TOMORROW (“PLOT”); eel

STUDENT ASSOCIATION OF AT, __ O'CLOCK ___

BINGHAMTON UNIVERSITY, - : : eS wee fohn M" Domurad, Clerk - Bifighamton
Defendant(s).

 

State of New York _ )
) ss:
County of Broome __)

Masai Andrews, being duly sworn, deposes and says:
1. Iam aresident of the State of New York.
2. On February 09, 2021, I received service of a summons in a civil action as a non-
party.
3. lam pro se.
4. Answering the Plaintiff's Complaint, I do not have sufficient knowledge or information

upon which to base a belief as to the truth of the allegation contained therein, as I am not a
Case 3:20-cv-00822-LEK-ML Document 144 Filed 03/11/22 Page 2 of 3

Principal, “officer, a managing or general agent, or any other agent” of any entities named in said
Complaint, nor do I have any affiliation thereof, and therefore deny each and every allegation
contained therein.
WHEREFORE, this Answering party prays that this Honorable Court will:

1. Dismiss the Complaint with prejudice or grant Plaintiff a reduced amount based upon
the admissions, denials and affirmative defenses, if any, as alleged above herein;
2. Award costs to any and all legitimate Defendants; and
3. Award such other and further relief as the Court deems just and Equitable to any and all
legitimate Defendants.

Dated: February 10, 2021 '

Binghamton, New York Dp Lae

° J
“Masai Andrews
Case 3:20-cv-00822-LEK-ML Document 144 Filed 03/11/22 Page 3 of 3

VERIFICATION
I, Masai Andrews, have read the foregoing Motion, and know the contents thereof. The
same are true to my knowledge, with the exception of matters therein stated to be alleged on
information and belief and as to those matters, I believe them to be true. To the best of
knowledge, information and belief, formed after an inquiry reasonable under the circumstances,

the presentation of these papers or the contentions herein are not frivolous.

LE

Masai Andrews
Endicott, NY
Phone: 518.334.1883

STATE OF NEW YORK COUNTY OF BROOME

On the sl h day of | f a in the year 2021, before me the undersigned, a notary public for
said state, personally appeared, personally known to me, or proved to me on the basis of

satisfactory evidence to be the individual whose name is subscribed to within the instrument and
acknowledged to me that s/he executed the same in his/her signature on the instrument, the
individual, or the person .on-the behalf of which the individual acted, executed the instrument. -

Sworn to before me this
Bh day of _(Nonch _ 2022

 

PAMELA VAN BLARGAN
NOTARY PUBLIC STATE OF NEW YORK
o~ BROO

ME COUNTY

LIC, # 01VA6301676
COMM. EXP. ¢/21./2 ¢. )

Notary Public

 
